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 Top 5 Luxury Rehab Centers in Malibu, California
      web.archive.org/web/20161221230722/https://www.ghctotalhealth.org/rehab-review/top-5-luxury-rehab-centers-in-malibu-
 california/
                                                                                                               June 4, 2016




 Malibu is synonymous with sun, sea and rehab centers! So much so, that some residents are
 objecting to the sheer number that ae springing up in suburban areas. Parking, it seems, is
 becoming difficult to find in some neighbor hoods.

 Resident’s concerns aside, not all rehab centers are created equal. Of the many rehabs to be
 found in Malibu, which are the top 5? Based on reviews, we targeted these select few.

    1. Passages Malibu

 Passages Malibu is number one in a number of areas. It’s unconventional approach that
 focuses on the individual and targets recovery through a combination of over 20 different types
 of therapy, its controversial decision to avoid 12-step therapy, its luxurious, mansion treatment
 facility, delicious meals and more. But what really garnered this center top spot was its JCHAO
 accreditation, a distinguished achievement that only 6% of rehabilitation centers in the US can
 boast.

 It’s not conventional by any means, but its individualized approach to treatment certainly
 places it above the run-of-the-mill. Plus, you have to like that setting – dreamy! It’s easy to
 understand that an environment like that makes kicking an addiction much more pleasant than
 it would otherwise be. If starting a new life is meant to be a positive experience, then you don’t
 get anything more positive than Passages Malibu.
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  Its slightly lower budget Ventura facility still garners rave reviews, so don’t be put off by
  Passages’ upmarket look and celebrity status.

     2. Promises Malibu

  From the unconventional to the absolutely conventional. Promises sticks to tried and true
  recipes that work for many. In its two-decade existence, it has gained a respected reputation
  and, it has nearly as high a ratio of staff to patients, although Passages still has the highest in
  the US. Getting in isn’t all that easy, but the facility is worth considering if you’d prefer the more
  conventional approach to addiction treatment it offers.

  Like most other successful rehab centers, it looks at the patient’s family circumstances and
  helps the patient to build his or her support network as a safeguard against future relapses.
  Although it doesn’t offer the same degree of luxury you’ll find at Passages, Promises still
  enjoys magnificent views, and offers delicious meals and a comfortable environment in which
  to deconstruct and reconstruct broken lives.

     3. Cliffside Malibu

  Your first impression? A stunning setting! The aptly named Cliffside is a solid rehab center with
  a three phase approach that, while being nothing new, does lead the recovering addict through
  the early stages of recovery, preparing them for a new and better life. For some, its pet-friendly
  policy (provided you don’t plan to bring a huge dog along) is a definite bonus.

  In terms of its treatment program, a strong range of therapies is offered and there appears to
  be a certain amount of individualized therapy programming instead of a uniform approach that
  won’t work for everybody.

  As for the facilities, they’re home-like and attractive without aspiring to the heights of interior
  décor you’ll find at the super-smart Passages center. The food is good, and inpatients have
  plenty of relaxation facilities at their disposal as they rest up between therapy sessions.

     4. Creative Care Inc.

  Don’t judge Creative Care Inc. by its rather poorly designed website, even though the
  temptation may be great – and don’t judge it by the rather arid picture of the area surrounding
  the ‘men’s house’ either. After all, there has been a drought.

  There are actually a lot of good things to say about this luxury treatment center. Specifically, its
  ability to tailor treatment programs to suit what works best for the individual makes it one of our
  top five. The views are stunning, and the ‘women’s house’ with its white-painted exterior and
  deck overlooking the sea has a welcoming feel.

  Attractive rooms, good food and good care by trained professionals are all part of the package
  at Creative Care.

     5. Visions Adolescent Treatment

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  Visions offers addiction and behavioral disorder treatment for 13 – 18 year olds. It’s tucked
  away in the Maibu hills in a pleasant, holiday camp-like setting, and provides a supportive
  environment for youths in danger. Kids do sleep two up in a room, but a huge swimming pool,
  big rec room and sociable lounge area should make up for that.

  Unfortunately, unlike other rehabs on our list, the facility doesn’t accept insurance and has no
  financing plans in place, so it’s up to you to decide whether the treatment it offers will be
  affordable for your family.

  As an interesting addition to its range of programs, behavioral problems such as eating
  disorders are treated here alongside addictions.

  How should you decide?

  You should never let anyone choose a rehab for you. Only you will know what works for you.
  For such an important investment in your future, it makes sense to set up interviews and
  facility tours with at least three of the top five and let the rehab centers do their own talking.




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